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Shanae K. Franklin
7379 Kamloops Ave.
Fontana, CA 92336
(909) 395-6311
N2shanae@yahoo.com

June 5, 2018

Re: Melvin Edwards III

 

To whom it may concern:

I have known Melvin Edwards my entire lifetime; Melvin is my cousin. Although I am aware
of Melvin’s questionable background, I along with other members of my family, have a great
deal of love and support for Melvin.

I understand that Melvin is now facing sentencing for illegal activity of which he has
accepted full responsibility. L also am aware of jail time served by Melvin in the past.
However, I am not specifically informed of the details surrounding any of his previous
crimes or convictions. Despite such lack of knowledge, I do know that Melvin has since
reintegrated himself into society and remained a law-abiding citizen for many years since.

Recently, Melvin has worked hard at living a legitimate lifestyle. Melvin established and
incorporated an auto-sales business. Melvin has always had a very considerate heart. In fact,
Melvin just recently sponsored numerous local youth softball and football programs.

Melvin has expressed regret for his most recent behavior and wishes to move forward with
his life. Melvin has my full support with doing so. :

I highly recommend the lightest possible sentence for Melvin. For his recent behavior is not

a reflection of his true character. Due to his various contributions to his local community, I
do not believe society will benefit from sending Melvin to prison.

I am in agreement with Melvin as he requests the mercy of the Court.

Respectfully,
Shanae K. Franklin
Case 5:17-cr-00239-PA Document 35-2 Filed 07/10/18 Page 8 of 11 Page ID #:151

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wa Wow sth th Street San Bernard vert do, CA 92411
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3-712

    
  

  

6-05-2018

To Whom : May Concern

My name is Hector Morales L. | am the owner of the shop EL CABALLO MUFFLER, MECHANIC SHOP

| would like that Mr. Melvin Edwards has been a good customer, friendly, respectful, men of word,

Responsible in all the ways, | know Him since 7 years ago, | have good opinion about Him,.

Please if you have any questions feel free to contact with me at:

(909) 885-7129

MR Hector Morales

 
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Filed In County Clerk's Office, County of San Bernardina 1/03/2017
SAN BERNARDINO COUNTY ye
1 JV

RECORDER ~ CLERK BOB Du TION SAN

222 West Hospitality Lane, 1st Floor ‘ ~ CLERK

San Bernardino, CA 92415-0022 ‘

(855) REC-CLRK Doc#: 20170000068 DocType: FN

| Pages: 1

BUSINESS OWNER IS RESPONSIBLE | eee zit
TO DETERMINE IF PUBLICATION is __ Eegip - 240862 .

REQUIRED. (B&P 17917).

 

 

 

FICTITIOUS BUSINESS NAME STATEMENT

FBN Number : 20170000068

Filing Type : FBN Filing

Date Filed > 1/03/2017

Began Transacting Business: N/A

Filing Expires On : 1/03/2022 \
Business is Conducted By : An Individual

 

Fictitious Business Name(s) : JACK & BIRD AUTO SALES

 

Business Address : 2995 JO AN OR
SAN BERNARDINO, CA 92407
Phone Number : County of Principal Place of Business: SAN BERNARDINO
Registrant(s) : MELVIN EDWARDS
Address : 2995 JO AN DR

SAN BERNARDINO, CA 92407

 

AUTHORIZE THE USE IN THIS STATE OF A FICTITIOUS BUSINESS NAME IN VIOLATION OF THE RIGHTS OF ANOTHER UNDER FEDERAL,
STATE, OR COMMON LAW (SEE SECTION 14411 ET SEQ., BUSINESS AND PROFESSIONS CODE).

Signature: she CA
N
Print Name: Wa

Officer Title: | HEREBY CERTIFY THAT THIS

COPY IS A TRUE COPY OF
BY SIGNING, | DECLARE THAT ALL INFORMATION IN THIS THE ORIGINAL STATEMENT

STATEMENT IS TRUE AND CORRECT. a registrant who declares as true Gy FILE IN MY OFFICE.

any material matter pursuant to Section 17913 of Business and Professions

Code that the registrant knows to be false is guilty of misdemeanor punishable f

by a fine not to exceed one thousand dollars ($1,000). / am aiso aware that alf SAN BERNARDINO COUNTY CLERK
information of this statement becomes Public Record upon filing pursuant

fo the California Public Records Act (Gov. Code 8250-6277). It is also my
responsibility to determine if Publication Is required (B&P 17917). By:

 

 

 

Deputy

 

 

FBNE 20170000!
0000068 Page 1 Distribution: County Clerk
ss@Base 5:17-cr-00239-PA Document 35-2.Fll er Qah Als Page 10 of 11 Page ID #:153

Fictitious Business Names
Records Search

NEW SEARCH

Certificate
Number

Filing Date 01/03/2017

20170000068

Filing
Type/Status [PN FILING/ACTIVE

Expiration
Date 01/03/2022

Type of
Business
Original FBN#
Abandoned
Date
Abandoned
FBN#

Image
Available

AN INDIVIDUAL

NOT AUTHORIZED

 

Business Address
2995 JO AN DR

SAN BERNARDINO, CA 92407

 

 

 

Business Name(s)

 

JACK & BIRD AUTO SALES

 

 

 

Owner Name(s)

 

 

 

 

 

 

 

Owner Name Withdrawal FBN #
EDWARDS MELVIN
BACK RELATED FBN

http://acrparis.sbcounty.gov/fon/index. htm!
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Fictitious Business Names Search

Search Criteria
Business Name: JACK & BIRD AUTO SALES
Owner's Name(Corporation):

Owner's Name(Individual):

 

 

 

 

 

 

 

 

 

FBN Number:
Date Of Filing:
: Owner
ae Name( Last, Certificate File date Status Type

First, Middle)

ERD * EDWARDS

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AUTO MELVIN 20170000068} 01/03/2017} ACTIVE FBN

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